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  CLEMENTE M. JIMÉNEZ, ESQ.
1
  California State Bar Number 207136
2 428 J Street, Suite 355
  Sacramento, CA 95814
3 (916) 443-8055

4
     ATTORNEY FOR PEDRO LOPEZ SANCHEZ
5

6                                IN THE UNITED STATES DISTRICT COURT
7                                   EASTERN DISTRICT OF CALIFORNIA
8
     UNITED STATES OF AMERICA,                          CASE NO. 2:14-MJ-0162 DAD
9
                                  Plaintiff,            STIPULATION REGARDING EXCLUDABLE
10                                                      TIME PERIODS UNDER SPEEDY TRIAL ACT;
                            v.                          FINDINGS AND ORDER
11
     PEDRO LOPEZ SANCHEZ,                               DATE: August 29, 2014
12
                                                        TIME: 2:00 a.m.
                                  Defendant.            COURT: Hon. Kendall J. Newman
13

14
                                                 STIPULATION
15
            IT IS HEREBY STIPULATED BY AND BETWEEN Assistant United States Attorney Michael
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     D. McCoy, counsel for the plaintiff United States of America, and defendant Pedro Lopez Sanchez, by
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     and through his counsel Clemente M. Jiménez, that good cause exists to continue the status conference
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     currently set for August 29, 2014, at 2:00 p.m., to September 29, 2014.
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            On August 1, 2014, defendant Sanchez was charged by Criminal Complaint with conspiracy to
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     manufacture at least 100 marijuana plants, in violation of Title 21, Unites States Code, Sections 846 and
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     841(a)(1). Later that same day, the defendant appeared in front of Magistrate Judge Dale A. Drozd for
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     his initial appearance. During that hearing Magistrate Judge Drozd set August 15, 2014, as the date for
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     the defendant’s preliminary hearing.
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            On August 15, 2014, while appearing in front of Magistrate Judge Edmund F. Brennan, the
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     defendant waived his preliminary hearing and requested a further status date of August 29, 2014.
26
            The 30 day period for filing an information or indictment in this matter, pursuant to 18 U.S.C.
27
     §3161(b), runs on August 31, 2014. However, under 18 U.S.C. § 3161(h)(7)(A), periods of delay in
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     computing the time within which an information or an indictment must be filed shall be excluded when
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 1 the “delay result[s] from a continuance granted by any judge . . . at the request of the defendant or . . .

 2 the Government, if the judge grant[s] such continuance on the basis of his findings that the ends of

 3 justice served by taking such action outweigh the best interest of the public and the defendant in a

 4 speedy trial.” One of the factors that a judge shall consider in determining whether to grant a

 5 continuance under 18 U.S.C. §3161(h)(7)(A) is “whether the failure to grant such a continuance . . .

 6 would deny counsel for the defendant or the attorney for the Government the reasonable time necessary

 7 for effective preparation, taking into account the exercise of due diligence.” 18 U.S.C.

 8 §3161(h)(7)(B)(iv).

 9          The parties in this case are currently considering resolving the pending charge without a formal

10 indictment. The parties agree that their efforts to resolve the case without indictment constitute good

11 cause for the continuance under the Speedy Trial Act, 18 U.S.C. §3161(h)(7)(B)(iv). This exclusion of

12 time includes the period up to and including September 29, 2014.

13          Nothing in this stipulation and order shall preclude a finding that other provisions of the Speedy

14 Trial Act dictate that additional time periods are excludable from the period within which an information

15 or indictment must be filed in this matter.

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1          IT IS SO STIPULATED.

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3
     Dated: August 28, 2014                       BENJAMIN B. WAGNER
4                                                 United States Attorney
5
                                                  /s/ MICHAEL D. McCOY
6                                                 MICHAEL D. McCOY
                                                  Assistant United States Attorney
7

8
     Dated: August 28, 2014                       /s/ CLEMENTE M. JIMÉNEZ
9                                                 CLEMENTE M. JIMÉNEZ
10                                                Counsel for Defendant
                                                  Pedro Lopez Sanchez
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14                                  FINDINGS AND ORDER

15         IT IS SO FOUND AND ORDERED.

16         Dated: August 29, 2014

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